Case 1:24-cv-06055-JAM           Document 1       Filed 08/30/24      Page 1 of 16 PageID #: 1




                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK



 Abeth Hashimi,

        Plaintiff,
 vs.                                                               COMPLAINT

 Romagrase Inc.,

        Defendant.



       Plaintiff, ABETH HASHIMI (“Plaintiff”), by his undersigned counsel, hereby files this

Complaint and sues Defendant, ROMAGRASE, INC. (“Defendant”), for injunctive relief

pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181, et seq., (hereinafter the

“A.D.A”) and the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (hereinafter the

“ADAAG”).

                                        JURISDICTION

       1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C.,

§§1331 and 1343 for Plaintiff’s claims arising under 42 U.S.C. § 12181. et seq., based upon

Defendant’s violations of Title III of the ADA (see also, 28 U.S.C. §§ 2201 and 2202).

       2.      Plaintiff currently resides in Flushing, New York, and is sui juris. Plaintiff is a

qualified individual with disabilities under the ADA law. Plaintiff suffers from a congenital

neuromuscular disorder known as Central Nuclear Myopathy which is characterized as a default

in the cell structure of voluntary muscles and as a result is bound to ambulate in a wheelchair.

       3.      Defendant, ROMAGRASE, INC., is a corporation and transacts business in the

State of New York and within this judicial district. Defendant, ROMAGRASE, INC., is the
Case 1:24-cv-06055-JAM           Document 1        Filed 08/30/24      Page 2 of 16 PageID #: 2




owner of the real property which is the subject of this action located on or about at 192-13 47

Avenue, Flushing, Queens, NY 11358 (hereinafter “Subject Property” or “Facility”).

       4.      Plaintiff has visited the Subject Property, doing business as Michael & Sons

Italian Food & Pizza, which forms the basis of this lawsuit in early February, 2024, and again

on or about August 9, 2024. On both of these occasions, the Plaintiff’s ability to ambulate

through the entrance of the Subject Property was constrained, hindered, and thwarted by the

structural barriers, that which prevented access to the public accommodation. The Plaintiff plans

to return to the Subject Property to avail himself of the goods and services offered to the public

at the Subject Property, and thereby determine whether the Subject Property has been made

ADA compliant. Plaintiff’s access to the Facility and/or full and equal enjoyment of the goods,

services, facilities, privileges, advantages, and/or accommodations offered therein was denied

and/or limited because of these disabilities, and Plaintiff will be denied and/or limited in the

future unless and until Defendants are compelled to remove the physical barriers to access and

ADA violations which exist at the Facility, including but not limited, to those set forth in this

Complaint.

5.     Plaintiff lives only several miles from the Defendants’ Facility, passes by the

Defendants’ Facility at least once per week when he is doing errands, visiting family and friends

throughout the borough, and looking to eat out. Moreover, the Defendants’ Facility is in a

neighborhood that Plaintiff dines out two to three times per month. Foremost, Plaintiff has dined

at, and in, nearly all of the neighboring restaurants surrounding the subject facility, that are all

without obstructions. Moreover, Plaintiff dines at restaurants on this street about once or twice

per month, including but not limited to America’s Favorite Deli, KTown Octopus House, and

Fortune Garden amongst many others; and thereon affirms that he would dine at the
Case 1:24-cv-06055-JAM            Document 1       Filed 08/30/24      Page 3 of 16 PageID #: 3




Defendant’s restaurant and avail himself of the goods and services offered to the public, were it

not for the structural barriers inhibiting his ability to enter the subject facility, in direct

contravention of Title III of the ADA and provisions under the ADAAG

       6.      The Defendants’ Facility is a public accommodation and service establishment,

and although required by law to do so, it is not in compliance with the ADA and ADAAG.

Plaintiff has visited the Subject Property which forms the basis of this lawsuit and plans to

return to the Subject Property to avail himself of the goods and services offered to the public at

the Subject Property, and to determine whether the Subject Property has been made ADA

compliant. Plaintiff’s access to the Facility and/or full and equal enjoyment of the goods,

services, facilities, privileges, advantages, and/or accommodations offered therein was denied

and/or limited because of these disabilities, and Plaintiff will be denied and/or limited in the

future unless and until Defendants are compelled to remove the physical barriers to access and

ADA violations which exist at the Facility, including but not limited, to those set forth in this

Complaint.

       7.      While removal of the alleged barriers can be accomplished without much

difficulty or expense, Plaintiff has suffered and continues to suffer direct and indirect injury as a

result of the ADA violations that exist at the Facility. In this instance, Plaintiff visited the

Facility and encountered barriers to access at the Facility, engaged barriers with is wheelchair

and realized he was unable to safely traverse said ADA violations and thus suffered legal harm

and injury, and will continue to suffer legal harm and injury as a result of the illegal barriers to

access as set forth herein.

       8.      Plaintiff visited the Facility and encountered barriers to access at the Facility no

less than two times, specifically at the beginning of February, 2024, and for the second time on
Case 1:24-cv-06055-JAM            Document 1        Filed 08/30/24      Page 4 of 16 PageID #: 4




or about August 9, 2024; engaged the barriers, suffered legal harm and injury, and will continue

to suffer legal harm and injury as a result of the illegal barriers to access as set forth herein. The

Plaintiff will continue to dine out in the neighborhood of the Defendants’ subject property, and

will thereon continue to attempt to access the services and facilities at said premises which have

been deprived at all times material. More specifically, the Plaintiff intends to visit the subject

facility in the coming autumn when dining out in this neighborhood with friends and family

       9.      All events giving rise to this lawsuit occurred in the State of New York. Venue is

proper in this Court as the premises are located in the Eastern District.

                          FACTUAL ALLEGATIONS AND CLAIM

       10.     Plaintiff has attempted to access the Facility, but could not do so without severe

hardship, because of his disabilities, and the physical barriers to access and ADA violations that

exist at the Facility, which restrict and/or limit his access to the goods and services offered at the

Facility. The ADA violations are more specifically set forth in this Complaint.

       11.     The New York State Human Rights Law provides: (a) “It shall be an unlawful

discriminatory practice for any person, being the owner, lessee, proprietor, manager,

superintendent, agent or employee of any place of public accommodation…. because of the …

disability … of any person, directly or indirectly, to refuse, withhold from or deny to such

person any of the accommodations, advantages, facilities or privileges thereof … to the effect

that any of the accommodations, advantages, facilities and privileges of any such place shall be

refused, withheld from or denied to any person on account of … disability … NYS Exec. Law §

296 (2)(a).”

       12.     Plaintiff travels through this neighborhood regularly, has partaken of the services

offered in nearly all the surrounding public accommodations, and thereon intends to visit the
Case 1:24-cv-06055-JAM            Document 1       Filed 08/30/24         Page 5 of 16 PageID #: 5




Facility again in the near future in order to utilize all of the goods and services offered therein

but will be unable to do so because of the physical barriers to access, dangerous conditions and

ADA violations that exist at the Facility that restrict and/or limit his access to the Facility,

including those barriers conditions and ADA violations more specifically set forth in this

Complaint.

       13.     Defendant has discriminated against Plaintiff and others with disabilities by

denying access to, and full and equal enjoyment of the goods and services of the Facility, as

prohibited by 42 U.S.C., § 12182, et. seq., and by failing to remove architectural barriers as

required by 42 U.S.C., § 12182(b)(2)(A)(iv), and will continue to discriminate against Plaintiff

and others with disabilities unless and until Defendant is compelled to remove all physical

barriers that exist at the Facility, including those specifically set forth herein, and make the

Facility accessible to and usable by persons with disabilities, including Plaintiff.

       14.     Defendant has discriminated against Plaintiff by failing to comply with the above

requirements. A specific, although not exclusive, list of unlawful physical barriers, dangerous

conditions and ADA violations, which preclude and/or limit Plaintiff’s ability to access the

Facility and full and equal enjoyment of the goods, services offered at the Facility include:

       1. Inaccessible entrance.
       2. Accessible route to establishment not provided as required.
       3. Accessible means of egress not provided as required.
       4. Existing step at entrance acts as a barrier to accessibility.
       5. Required ramp not provided for step at entrance.
               ADAAG 206 Accessible Routes
               ADAAG 206.1 General.
               Accessible routes shall be provided in accordance with 206 and shall comply with
               Chapter 4.
               ADAAG 206.2 Where Required.
               Accessible routes shall be provided where required by 206.2.
               ADAAG 206.2.1 Site Arrival Points.
Case 1:24-cv-06055-JAM      Document 1      Filed 08/30/24     Page 6 of 16 PageID #: 6




           At least one accessible route shall be provided within the site from accessible
           parking spaces and accessible passenger loading zones; public streets and
           sidewalks; and public transportation stops to the accessible building or facility
           entrance they serve.
           ADAAG 206.4 Entrances.
           Entrances shall be provided in accordance with 206.4. Entrance doors, doorways,
           and gates shall comply with 404 and shall be on an accessible route complying
           with 402.
           ADAAG 207 Accessible Means of Egress
           ADAAG 207.1 General.
           Means of egress shall comply with section 1003.2.13 of the International Building
           Code (2000 edition and 2001 Supplement) or section 1007 of the International
           Building Code (2003 edition) (incorporated by reference, “Referenced Standards”
           in Chapter 1).
           ADAAG 402 Accessible Routes
           ADAAG 402.1 General.
           Accessible routes shall comply with 402.
           ADAAG 402.2 Components.
           Accessible routes shall consist of one or more of the following components:
           walking surfaces with a running slope not steeper than 1:20, doorways, ramps,
           curb ramps excluding the flared sides, elevators, and platform lifts. All
           components of an accessible route shall comply with the applicable requirements
           of Chapter 4. ADAAG 403 Walking Surfaces
           ADAAG 403.4 Changes in Level.
           Changes in level shall comply with 303
           ADAAG 303.4 Ramps.
           Changes in level greater than ½ inch high shall be ramped, and shall comply with
           405 or 406
     6. Required minimum maneuvering clearance not provided at entrance door.
     7. Non-compliant change in floor level within required maneuvering clearance at
        entrance door.
           ADAAG 206 Accessible Routes
           ADAAG 206.1 General.
           Accessible routes shall be provided in accordance with 206 and shall comply with
           Chapter 4.
           ADAAG 206.2 Where Required.
           Accessible routes shall be provided where required by 206.2.
           ADAAG 206.2.1 Site Arrival Points.
           At least one accessible route shall be provided within the site from accessible
           parking spaces and accessible passenger loading zones; public streets and
           sidewalks; and public transportation stops to the accessible building or facility
           entrance they serve.
           ADAAG 206.4 Entrances.
Case 1:24-cv-06055-JAM        Document 1       Filed 08/30/24     Page 7 of 16 PageID #: 7




            Entrances shall be provided in accordance with 206.4. Entrance doors, doorways,
            and gates shall comply with 404 and shall be on an accessible route complying
            with 402.
            ADAAG 206.4.1 Public Entrances.
            In addition to entrances required by 206.4.2 through 206.4.9, at least 60 percent of
            all public entrances shall comply with 404.
            ADAAG 207 Accessible Means of Egress
            ADAAG 207.1 General.
            Means of egress shall comply with section 1003.2.13 of the International Building
            Code (2000 edition and 2001 Supplement) or section 1007 of the International
            Building Code (2003 edition) (incorporated by reference, “Referenced Standards”
            in Chapter 1)
            ADAAG 404.2.4 Maneuvering Clearances.
            Minimum maneuvering clearances at doors and gates shall comply with 404.2.4.
            Maneuvering clearances shall extend the full width of the doorway and the
            required latch side or hinge side clearance.
            ADAAG 404.2.4.4 Floor or Ground Surface.
            Floor or ground surface within required maneuvering clearances shall comply
            with 302.
            Changes in level are not permitted.

     8. Inaccessible service counter.
     9. Non-compliant height of service counter exceeds maximum height allowance.

            ADAAG227 Sales and Service
            ADAAG 227.1 General.
            Where provided, check-out aisles, sales counters, service counters, food service
            lines, queues, and waiting lines shall comply with 227 and 904.
            ADAAG 904.4 Sales and Service Counters.
            Sales counters and service counters shall comply with 904.4.1 or 904.4.2. The
            accessible portion of the counter top shall extend the same depth as the sales or
            service counter top.
            ADAAG 904.4.1 Parallel Approach.
            A portion of the counter surface that is 36 inches (915 mm) long minimum and 36
            inches (915 mm) high maximum above the finish floor shall be provided.
            A clear floor or ground space complying with 305 shall be positioned for a
            parallel approach adjacent to the 36 inch (915 mm) minimum length of counter.

     10. Inaccessible dining tables.
     11. Required minimum knee and toe clearance not provided at dining tables.
     12. A minimum percentage of existing dining tables required to be accessible not
         provided.
            ADAAG 226 Dining Surfaces and Work Surfaces
            ADAAG 226.1 General.
Case 1:24-cv-06055-JAM        Document 1       Filed 08/30/24      Page 8 of 16 PageID #: 8




            Where dining surfaces are provided for the consumption of food or drink, at least
            5 percent of the seating spaces and standing spaces at the dining surfaces shall
            comply with 902.
            ADAAG 902 Dining Surfaces and Work Surfaces
            ADAAG 902.1 General.
            Dining surfaces and work surfaces shall comply with 902.2 and 902.3.
            ADAAG 902.2 Clear Floor or Ground Space.
            A clear floor space complying with 305 positioned for a forward approach shall
            be provided.
            Knee and toe clearance complying with 306 shall be provided.
            ADAAG 306.2 Toe Clearance.
            ADAAG 306.2.3 Minimum Required Depth.
            Where toe clearance is required at an element as part of a clear floor space, the toe
            clearance shall extend 17 inches (430 mm) minimum under the element.
            ADAAG 306.2.5 Width.
            Toe clearance shall be 30 inches (760 mm) wide minimum.
            ADAAG 306.3 Knee Clearance.
            ADAAG 306.3.3 Minimum Required Depth.
            Where knee clearance is required under an element as part of a clear floor space,
            the knee clearance shall be 11 inches deep minimum at 9 inches above the ground,
            and 8 inches deep minimum at 27 inches (685 mm) above the finish floor or
            ground.
            ADAAG 306.3.5 Width.
            Knee clearance shall be 30 inches (760 mm) wide minimum.

     13. Inaccessible self-service beverage coolers displaying beverages for purchase.

     14. Non-compliant heights of shelves in self-service beverage coolers exceed maximum
         height allowance.
            ADAAG 904.5.1 Self-Service Shelves and Dispensing Devices.
            Self-service shelves and dispensing devices for tableware, dishware, condiments,
            food and beverages shall comply with 308.
            ADAAG 308.2 Forward Reach.
            ADAAG 308.2.1 Unobstructed.
            Where a forward reach is unobstructed, the high forward reach shall be 48 inches
            maximum and the low forward reach shall be 15 inches minimum above the finish
            floor or ground.
            ADAAG 308.2.2 Obstructed High Reach.
            Where a high forward reach is over an obstruction, the clear floor space shall
            extend beneath the element for a distance not less than the required reach depth
            over the obstruction. The high forward reach shall be 48 inches maximum where
            the reach depth is 20 inches maximum. Where the reach depth exceeds 20 inches,
            the high forward reach shall be 44 inches maximum and the reach depth shall be
            25 inches maximum.
            ADAAG 308.3 Side Reach.
            ADAAG 308.3.1 Unobstructed.
Case 1:24-cv-06055-JAM        Document 1       Filed 08/30/24      Page 9 of 16 PageID #: 9




            Where a clear floor or ground space allows a parallel approach to an element and
            the side reach is unobstructed, the high side reach shall be 48 inches maximum
            and the low side reach shall be 15 inches minimum above the finish floor or
            ground.
            ADAAG 308.3.2 Obstructed High Reach.
            Where a clear floor or ground space allows a parallel approach to an element and
            the high side reach is over an obstruction, the height of the obstruction shall be 34
            inches maximum and the depth of the obstruction shall be 24 inches maximum.
            The high side reach shall be 48 inches maximum for a reach depth of 10 inches
            maximum. Where the reach depth exceeds 10 inches, the high side reach shall be
            46 inches maximum for a reach depth of 24 inches maximum.

     15. Compliant signage identifying the restroom not provided as required.
            ADAAG 216 Signs
            ADAAG 216.1 General.
            Signs shall be provided in accordance with 216 and shall comply with 703.
            ADAAG 216.2 Designations.
            Interior and exterior signs identifying permanent rooms and spaces shall comply
            with 703.1, 703.2, and 703.5. Where pictograms are provided as designations of
            permanent interior rooms and spaces, the pictograms shall comply with 703.6 and
            shall have text descriptors complying with 703.2 and 703.5.
            Advisory 216.2 Designations.
            Section 216.2 applies to signs that provide designations, labels, or names for
            interior rooms or spaces where the sign is not likely to change over time.
            Examples include interior signs labeling restrooms, room and floor numbers or
            letters, and room names. Tactile text descriptors are required for pictograms that
            are provided to label or identify a permanent room or space.
            Pictograms that provide information about a room or space, such as “no
            smoking,” occupant logos, and the International Symbol of Accessibility, are not
            required to have text descriptors.
            ADAAG 703.1 General.
            Signs shall comply with 703. Where both visual and tactile characters are
            required, either one sign with both visual and tactile characters, or two separate
            signs, one with visual, and one with tactile characters, shall be provided.
            ADAAG 703.4.1 Height Above Finish Floor or Ground.
            Tactile characters on signs shall be located 48 inches (1220 mm) minimum above
            the finish floor or ground surface, measured from the baseline of the lowest tactile
            character and 60 inches (1525 mm) maximum above the finish floor or ground
            surface, measured from the baseline of the highest tactile character.
            ADAAG 703.4.2 Location.
            Where a tactile sign is provided at a door, the sign shall be located alongside the
            door at the latch side. Where a tactile sign is provided at double doors with one
            active leaf, the sign shall be located on the inactive leaf. Where a tactile sign is
            provided at double doors with two active leafs, the sign shall be located to the
            right of the right hand door. Where there is no wall space at the latch side of a
            single door or at the right side of double doors, signs shall be located on the
Case 1:24-cv-06055-JAM       Document 1        Filed 08/30/24      Page 10 of 16 PageID #: 10




             nearest adjacent wall. Signs containing tactile characters shall be located so that a
             clear floor space of 18 inches (455 mm) minimum by 18 inches (455 mm)
             minimum, centered on the tactile characters, is provided beyond the arc of any
             door swing between the closed position and 45 degree open position.
      16. Inaccessible restroom.
      17. Required minimum clear width not provided at restroom door.

             ADAAG 206 Accessible Routes
             ADAAG 206.1 General.
             Accessible routes shall be provided in accordance with 206 and shall comply with
             Chapter 4.
             ADAAG 402 Accessible Routes
             ADAAG 402.1 General.
             Accessible routes shall comply with 402.
             ADAAG 402.2 Components.
             Accessible routes shall consist of one or more of the following components:
             walking surfaces with a running slope not steeper than 1:20, doorways, ramps,
             curb ramps excluding the flared sides, elevators, and platform lifts. All
             components of an accessible route shall comply with the applicable requirements
             of Chapter 4.
             ADAAG 404.2.3 Clear Width.
             Door openings shall provide a clear width of 32 inches (815 mm) minimum. Clear
             openings of doorways with swinging doors shall be measured between the face of
             the door and the stop, with the door open 90 degrees.

      18. Non-compliant door knob at restroom door requires twisting of the wrist.

             ADAAG 404 Doors, Doorways, and Gates
             ADAAG 404.1 General.
             Doors, doorways, and gates that are part of an accessible route shall comply with
             404.
             ADAAG 404.2.7 Door and Gate Hardware.
             Handles, pulls, latches, locks, and other operable parts on doors and gates shall
             comply with 309.4
             ADAAG 309.4 Operation.
             Operable parts shall be operable with one hand and shall not require tight
             grasping, pinching, or twisting of the wrist. The force required to activate
             operable parts shall be 5 pounds maximum.

      19. Non-compliant door lock at restroom door requires twisting of the wrist.

             ADAAG 404 Doors, Doorways, and Gates
             ADAAG 404.1 General.
             Doors, doorways, and gates that are part of an accessible route shall comply with
             404.
             ADAAG 404.2.7 Door and Gate Hardware.
Case 1:24-cv-06055-JAM        Document 1     Filed 08/30/24     Page 11 of 16 PageID #: 11




             Handles, pulls, latches, locks, and other operable parts on doors and gates shall
             comply with 309.4
             ADAAG 309.4 Operation.
             Operable parts shall be operable with one hand and shall not require tight
             grasping, pinching, or twisting of the wrist. The force required to activate
             operable parts shall be 5 pounds maximum.

      20. Required minimum maneuvering clearance not provided at restroom door.

             ADAAG 206 Accessible Routes
             ADAAG 206.1 General.
             Accessible routes shall be provided in accordance with 206 and shall comply with
             Chapter 4.
             ADAAG 402 Accessible Routes
             ADAAG 402.1 General.
             Accessible routes shall comply with 402.
             ADAAG 402.2 Components.
             Accessible routes shall consist of one or more of the following components:
             walking surfaces with a running slope not steeper than 1:20, doorways, ramps,
             curb ramps excluding the flared sides, elevators, and platform lifts. All
             components of an accessible route shall comply with the applicable requirements
             of Chapter 4.
             ADAAG 404.2.4 Maneuvering Clearances.
             Minimum maneuvering clearances at doors and gates shall comply with 404.2.4.
             Maneuvering clearances shall extend the full width of the doorway and the
             required latch side or hinge side clearance.

      21. Required minimum turning space not provided in restroom.

             ADAAG 603 Toilet and Bathing Rooms
             ADAAG 603.1 General.
             Toilet and bathing rooms shall comply with 603.
             ADAAG 603.2 Clearances. Clearances shall comply with 603.2.
             ADAAG 603.2.1 Turning Space.
             Turning space complying with 304 shall be provided within the room.
             ADAAG 304.3.1 Circular Space.
             The turning space shall be a space of 60 inches (1525 mm) diameter minimum.
             The space shall be permitted to include knee and toe clearance complying with
             306

      22. Inaccessible restroom fixtures.

             An accessible route to restroom fixtures not provided.
             Required minimum clear width not provided at travel path to restroom fixtures.
             ADAAG 402 Accessible Routes
             ADAAG 402.1 General.
             Accessible routes shall comply with 402.
Case 1:24-cv-06055-JAM       Document 1        Filed 08/30/24     Page 12 of 16 PageID #: 12




             ADAAG 402.2 Components.
             Accessible routes shall consist of one or more of the following components:
             walking surfaces with a running slope not steeper than 1:20, doorways, ramps,
             curb ramps excluding the flared sides, elevators, and platform lifts. All
             components of an accessible route shall comply with the applicable requirements
             of Chapter 4.
             ADAAG 403 Walking Surfaces
             ADAAG 403.1 General.
             Walking surfaces that are a part of an accessible route shall comply with 403.
             ADAAG 403.5.1 Clear Width.
             Except as provided in 403.5.2 and 403.5.3, the clear width of walking surfaces
             shall be 36 inches (915 mm) minimum.

      23. Required minimum clear floor space not provided at lavatory in restroom.

             ADAAG 606 Lavatories and Sinks.
             ADAAG 606.2 Clear Floor Space.
             A clear floor space complying with 305, positioned for a forward approach, and
             knee and toe clearance complying with 306 shall be provided.
             ADAAG 305.3 Size.
             The clear floor or ground space shall be 30 inches (760 mm) minimum by 48
             inches (1220 mm) minimum.

      24. Required minimum knee and toe clearance not provided at lavatory in restroom.

             ADAAG 606 Lavatories and Sinks.
             ADAAG 606.2 Clear Floor Space.
             A clear floor space complying with 305, positioned for a forward approach, and
             knee and toe clearance complying with 306 shall be provided.
             ADAAG 306.2 Toe Clearance.
             ADAAG 306.2.3 Minimum Required Depth.
             Where toe clearance is required at an element as part of a clear floor space, the toe
             clearance shall extend 17 inches (430 mm) minimum under the element.
             ADAAG 306.2.5 Width.
             Toe clearance shall be 30 inches (760 mm) wide minimum.
             ADAAG 306.3 Knee Clearance.
             ADAAG 306.3.3 Minimum Required Depth.
             Where knee clearance is required under an element as part of a clear floor space,
             the knee clearance shall be 11 inches deep minimum at 9 inches above the ground,
             and 8 inches deep minimum at 27 inches (685 mm) above the finish floor or
             ground.
             ADAAG 306.3.5 Width.
             Knee clearance shall be 30 inches (760 mm) wide minimum.

      25. Inaccessible hand soap dispenser in restroom.
      26. Non-compliant mounted height of hand soap dispenser in restroom exceeds maximum
          height allowance.
Case 1:24-cv-06055-JAM      Document 1        Filed 08/30/24     Page 13 of 16 PageID #: 13




            ADAAG Advisory
            606.1 General.
            If soap and towel dispensers are provided, they must be located within the reach
            ranges specified in 308.
            ADAAG 308.2 Forward Reach.
            ADAAG 308.2.1 Unobstructed.
            Where a forward reach is unobstructed, the high forward reach shall be 48 inches
            maximum and the low forward reach shall be 15 inches minimum above the finish
            floor or ground.
            ADAAG 308.2.2 Obstructed High Reach.
            Where a high forward reach is over an obstruction, the clear floor space shall
            extend beneath the element for a distance not less than the required reach depth
            over the obstruction. The high forward reach shall be 48 inches maximum where
            the reach depth is 20 inches maximum. Where the reach depth exceeds 20 inches,
            the high forward reach shall be 44 inches maximum and the reach depth shall be
            25 inches maximum.
            ADAAG 308.3 Side Reach.
            ADAAG 308.3.1 Unobstructed.
            Where a clear floor or ground space allows a parallel approach to an element and
            the side reach is unobstructed, the high side reach shall be 48 inches maximum
            and the low side reach shall be 15 inches minimum above the finish floor or
            ground.
            ADAAG 308.3.2 Obstructed High Reach.
            Where a clear floor or ground space allows a parallel approach to an element and
            the high side reach is over an obstruction, the height of the obstruction shall be 34
            inches maximum and the depth of the obstruction shall be 24 inches maximum.
            The high side reach shall be 48 inches maximum for a reach depth of 10 inches
            maximum. Where the reach depth exceeds 10 inches, the high side reach shall be
            46 inches maximum for a reach depth of 24 inches maximum.

      27. Inaccessible paper towel dispenser in restroom.
      28. Non-compliant mounted height of paper towel dispenser in restroom exceeds
          maximum height allowance.

            ADAAG Advisory 606.1 General.
            If soap and towel dispensers are provided, they must be located within the reach
            ranges specified in 308.
            ADAAG 308.2 Forward Reach.
            ADAAG 308.2.1 Unobstructed.
            Where a forward reach is unobstructed, the high forward reach shall be 48 inches
            maximum and the low forward reach shall be 15 inches minimum above the finish
            floor or ground.
            ADAAG 308.2.2 Obstructed High Reach.
            Where a high forward reach is over an obstruction, the clear floor space shall
            extend beneath the element for a distance not less than the required reach depth
Case 1:24-cv-06055-JAM       Document 1        Filed 08/30/24     Page 14 of 16 PageID #: 14




             over the obstruction. The high forward reach shall be 48 inches maximum where
             the reach depth is 20 inches maximum. Where the reach depth exceeds 20 inches,
             the high forward reach shall be 44 inches maximum and the reach depth shall be
             25 inches maximum.
             ADAAG 308.3 Side Reach.
             ADAAG 308.3.1 Unobstructed.
             Where a clear floor or ground space allows a parallel approach to an element and
             the side reach is unobstructed, the high side reach shall be 48 inches maximum
             and the low side reach shall be 15 inches minimum above the finish floor or
             ground.
             ADAAG 308.3.2 Obstructed High Reach.
             Where a clear floor or ground space allows a parallel approach to an element and
             the high side reach is over an obstruction, the height of the obstruction shall be 34
             inches maximum and the depth of the obstruction shall be 24 inches maximum.
             The high side reach shall be 48 inches maximum for a reach depth of 10 inches
             maximum. Where the reach depth exceeds 10 inches, the high side reach shall be
             46 inches maximum for a reach depth of 24 inches maximum.

      29. Inaccessible mirror in restroom.
      30. Non-compliant mounted height of mirror in restroom exceeds maximum height
          allowance.
              ADAAG 603.3 Mirrors.
              Mirrors located above lavatories or countertops shall be installed with the bottom
              edge of the reflecting surface 40 inches (1015 mm) maximum above the finish
              floor or ground.
              Mirrors not located above lavatories or countertops shall be installed with the
              bottom edge of the reflecting surface 35 inches (890 mm) maximum above the
              finish floor or ground.

      31. Inaccessible water closet in restroom.
      32. Required minimum clearance not provided at water closet in restroom.

             ADAAG 604 Water Closets and Toilet Compartments
             ADAAG 604.3 Clearance.
             Clearances around water closets and in toilet compartments shall comply with
             604.3.
             ADAAG 604.3.1 Size.
             Clearance around a water closet shall be 60 inches (1525 mm) minimum
             measured perpendicular from the side wall and 56 inches (1420 mm) minimum
             measured perpendicular from the rear wall.

      33. Required grab bar not provided on rear wall of water closet in restroom.
             ADAAG 604 Water Closets and Toilet Compartments
             ADAAG 604.5 Grab Bars.
             Grab bars for water closets shall comply with 609.
             Grab bars shall be provided on the side wall closest to the water closet and on the
             rear wall.
Case 1:24-cv-06055-JAM           Document 1        Filed 08/30/24          Page 15 of 16 PageID #: 15




        34. Non-compliant existing grab bar at side wall of water closet in restroom does not
            meet minimum size requirement.

                ADAAG 604 Water Closets and Toilet Compartments
                ADAAG 604.5.1 Side Wall.
                The side wall grab bar shall be 42 inches (1065 mm) long minimum, located 12
                inches (305 mm) maximum from the rear wall and extending 54 inches (1370
                mm) minimum from the rear wall.

        15.     The above listing is not to be considered all-inclusive of the barriers which exist

at the Facility. Plaintiff requires an inspection of the Facility in order to determine all of the

ADA violations.

        16.     The removal of the physical barriers, dangerous conditions, and ADA violations

set forth herein is readily achievable and can be accomplished and carried out without much

difficulty or expense. 42 U.S.C. § 12182(B)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R, §

36.304.

        17.     Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

reasonably anticipates that he will continue to suffer irreparable harm unless and until

Defendant is required to remove the physical barriers, dangerous conditions, and ADA

violations that exist at the Facility, including those set forth herein.

        18.     The Plaintiff has been obligated to retain undersigned counsel for the filing and

prosecution of this action. The Plaintiff is entitled to have his reasonable attorney’s fees, costs

and expenses paid by the Defendant, pursuant to 42 U.S.C., §§ 12205 and 12217.

        19.     Pursuant to 42 U.S.C. §12188(a), this Court is provided with authority to grant

injunctive relief to Plaintiff, including an order to alter the Facility to make it readily accessible

to and useable by individuals with disabilities to the extent required by the ADA, and closing

the Facility until the requisite modifications are completed.
Case 1:24-cv-06055-JAM          Document 1        Filed 08/30/24      Page 16 of 16 PageID #: 16




          WHEREFORE, Plaintiff respectfully requests that the Court issue a permanent

injunction enjoining Defendant from continuing is discriminatory practices, ordering Defendant

to remove the physical barriers to access and alter the Facility to make it readily accessible to

and useable by individuals with disabilities to the extent required by the ADA, closing the

Facility until the barriers are removed and requisite alterations are completed, and awarding

Plaintiff his reasonable attorney’s fees, expert fees, costs and litigation expenses incurred in this

action.

                                                   Respectfully submitted

                                                   BARDUCCI LAW FIRM, PLLC
                                                   5 West 19th Street, 10th Floor
                                                   New York, NY 10011
                                                   (212) 433-2554

                                             By: s/ Maria-Costanza Barducci
                                                 Maria-Costanza Barducci, Esq.
                                                     Attorney for Plaintiff
                                                 Bar No. 5070487
                                                 MC@BarducciLaw.com
